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Dear: Honorable Judge Sam S Sheldon Case # 4:21-cv-01838

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FILED 12/03/2021
pec 03 2021

Nathan Ochsner, Clerk of Court | | |
Iam writing you to introduce myself my name is Vanie Deloris

Houston I am a 59 year old single mother I have lived in
Houston Texas most of my life I have three children and 12
grandchildren. I am a nurse assistant for Memorial Hermann
hospital I’ve been here for 13 years. Its been about 4 years plus
that I’ve become aware of this situation, I have hired numerous
attorneys to resolve this since finding out about this matter. | am
in a upside down money bind I don’t know where else to turn
I’ve exhausted all my resources. My life hasn’t been very easy
I’ve worked very hard to acquire the things I have. This has
caused me a big financial burden along with many health issues
in fact I am currently on a medical leave from work and will be
having surgery on December 10" . this situation has caused me
to go to my last resorts to get money to pay lawyers who has
defrauded me. I hired a lawyer by the name of Gunny Thompson
who has been representing me for the last 3 years, I’ve been
paying him for his work until you told me that he wasn’t able to
represent me which made me aware that he wasn’t a lawyer. I
have contacted legal aid and other agencies for help but because
of my home they’re not able to assist me. I am still seeking legal
assistance at this time. I just want to say thank you for taking out
the time to read this letter.

Sincerely, Vanie Houston

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